                          UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION
                              Case No. 3:20-cv-00019-FDW

WILLIAM F. MACKEY,

                   Plaintiff,

v.                                                 DEFENDANT’S MOTION IN LIMINE NO.
                                                   1 TO EXCLUDE DWAYNE HARRIS AND
WELLS FARGO BANK, N.A.,                            BRITTANY FRITZ FROM TESTIFYING
                                                              AT TRIAL
               Defendant.
___________________________________/

       Defendant WELLS FARGO BANK, N.A., by its attorneys and pursuant to Section 4(d)

of the Court’s March 6, 2020 Case Management Order (Doc. 9), files this Motion In Limine No.

1 to Exclude Dwayne Harris and Brittany Fritz From Testifying at Trial. In support of its

motion, Wells Fargo states as follows:

       1.       Mackey submitted a witness list as part of the parties’ Jointly-Proposed Pretrial

Order (Doc. 24) containing two individuals, Dwayne Harris and Brittany Fritz, who were not

identified in his original or supplemental Federal Rule of Civil Procedure 26 initial disclosures

and whose identities were not otherwise disclosed during the discovery phase of this action.

       2.       On his witness list, Mackey stated that he may call Dwayne Harris and Brittany

Fritz as witnesses to “establish the effect of Wells Fargo’s alleged refusal to promote and pay

him equally has had on Plaintiff.” (Doc. 24 at 15.)

       3.       Mackey’s failure to disclose Harris and Fritz was not substantially justified or

harmless. Harris and Fritz should be barred from testifying at trial under Federal Rule of Civil

Procedure 37(c)(1) because: (1) Harris and Fritz were not properly identified in discovery; (2)

there is no way for Mackey to cure the surprise at this stage of the action; (3) the presentation of



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Harris’ and Fritz’s testimony would disrupt Wells Fargo’s cross examination of witnesses and

presentation of its rebuttal case; (4) Mackey failed to demonstrate that either witnesses is

important because neither have opined that Wells Fargo’s actions contributed to his health

problems; and (5) Mackey has offered no explanation for the nondisclosure of Harris and Fritz.

       4.       Based on Mackey’s failure to identify or disclose these witnesses, Wells Fargo

submits that they should be excluded from testifying at trial to prevent prejudice to Wells Fargo.

       WHEREFORE, Wells Fargo respectfully requests that the Court grant this motion and

enter an Order barring Dwayne Harris and Brittany Fritz from testifying at trial.

                                                Respectfully submitted,

                                                WELLS FARGO BANK, N.A.


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Date: July 5, 2021




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                         UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF NORTH CAROLINA
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                             Case No. 3:20-cv-00019-FDW

WILLIAM F. MACKEY,

                   Plaintiff,

v.                                                       CERTIFICATE OF SERVICE

WELLS FARGO BANK, N.A.,

               Defendant.
___________________________________/


       I hereby certify that on July 5, 2021, I filed a true and correct copy of DEFENDANT’S

MOTION IN LIMINE NO. 1 TO EXCLUDE DWAYNE HARRIS AND BRITTANY FRITZ

FROM TESTIFYING AT TRIAL with the Clerk of the Court using the CM/ECF system, which

will automatically send e-mail notification of such filing to the following attorney of record:

                                Alesha S. Brown
                                Justice In Action Law Center
                                521 Briar Creek Road
                                Charlotte, North Carolina 28205


                                                      /s/ Frederick T. Smith
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                                                      Attorney for Defendant




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